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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)
 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )    Criminal Action No. 6: 05-030-DCR-12
                                               )
 V.                                            )
                                               )
 ROBERT N. DEMLING,                            )         MEMORANDUM OPINION
                                               )             AND ORDER
        Defendant.                             )

                                  ***    ***       ***   ***

       Defendant Robert Demling and a number of other individuals were involved in an

extensive drug conspiracy in Southeastern Kentucky, spanning a significant period of time.

[See Record Nos. 853 and 886.]        Demling was personally involved in the marijuana

component of the criminal activity.     On October 24, 2005, Demling pleaded guilty to

conspiring to distribute 1,000 kilograms or more of marijuana in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(A), and 846 (Count 2 of the second superseding indictment) and to

aiding and abetting the possession of marijuana with intent to distribute in violation of 21

U.S.C. §§ 841(a)(1), 841(b)(1)(D), and 18 U.S.C. § 2 (Count 20 of the second superseding

indictment). [Record Nos. 478, 630] Thereafter, Demling was sentenced to a 200-month

term of imprisonment under Count 2 and a 120-month term of imprisonment under Count 20.

[Record No. 630] This case is currently pending for consideration of Demling’s motion for a

reduction of his sentence based on 18 U.S.C. § 3582(c)(2) and Amendment 782 to the United

States Sentencing Guidelines. [Record No. 1004]




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       The focus of the subject conspiracy involved a pawn shop located in Manchester,

Kentucky, and operated by Defendant Kenneth Day and several associates. [Record No.

655, p. 12] Initially, Demling was purchasing marijuana in five pound increments at $1,600

per pound an would re-sell it to others in the region. [Record No. 624, p. 1] Business was

good. As a result, Demling began buying 30 to 40 pounds of marijuana per trip at a

discounted price of $1,400 per pound. Id. Demling admits that he purchased marijuana at

the pawn shop on at least a monthly basis. Id. On April 27, 2005, Demling was arrested

when Kentucky State Police discovered approximately thirty pounds of marijuana and

$8,019.00 in cash in his truck during a traffic stop. Id. In his plea agreement, Demling

admitted that he received between 2,500 and 5,000 pounds (or 1,134 to 2,268 kilograms) of

marijuana over a three and one-half year period. Id. at 2.

       Based on the amount of marijuana attributed to Demling, his base offense level under

§ 2D1.1 of the 2005 edition of the United States Sentencing Guidelines was level 32.

[Record No. 655, p. 33]        After receiving a three-level reduction for acceptance of

responsibility, Demling’s total offense level was reduced to level 29. Id. Demling was

placed in a criminal history category of IV for the purpose of calculating his guideline range

for imprisonment which was determined to be 121-151 months. Id. at 37, 43.1 However,

based on a prior felony drug conviction, Demling was subject to a 240-month mandatory

minimum term of imprisonment on Count 2 pursuant to 21 U.S.C. § 841(b)(1)(A). Id. at 43.

       At sentencing, the United States moved the Court to reduce Demling’s sentence

pursuant to § 5K1.1 of the United States Sentencing Guidelines and 18 U.S.C. § 3553(e)


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       Counts Two and 20 were grouped for purposes of determining the base offense level
pursuant to United States Sentencing Guideline § 3D1.2(d) (2005).

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based on his assistance in the investigation and prosecution of others. [Record No. 793] As

a result, the Court departed downward from the mandatory minimum term of 240 months,

sentencing Demling to 200 months on Count 2. [Record No. 630] In imposing the sentence,

the Court determined that a period of 200 months incarceration was the least term which

should be imposed under the circumstances presented.

       Motions under 18 U.S.C. § 3582 require the Court to conduct a two-step inquiry.

United States v. Thompson, 714 F.3d 946, 948 (6th Cir. 2013). First, the Court determines

whether the defendant is eligible for a sentence reduction. Id. If the defendant is eligible, the

Court must then decide “whether the authorized reduction is warranted, either in whole or in

part, according to the factors set forth in [18 U.S.C.] § 3553(a).” Id. at 949. Here, even

though Demling was originally subject to a mandatory minimum term of twenty years

imprisonment, he is still eligible for a reduction under the first step of the analysis based on

the United States’ motion under 18 U.S.C. § 3553(e).

       Where the defendant is subject to a statutory mandatory minimum that is higher than

the guideline range, the mandatory minimum becomes the guideline sentence under § 5G1.1

of the guidelines. Because Amendment 782 only changed the guidelines, it has no effect on

sentences based on a mandatory minimum created by statute. However, Section 1B1.10 of

the United States Sentencing Guidelines states, in part, that:

        (c) Cases Involving Mandatory Minimum Sentences and Substantial
       Assistance.--If the case involves a statutorily required minimum sentence and
       the court had the authority to impose a sentence below the statutorily required
       minimum sentence pursuant to a government motion to reflect the defendant’s
       substantial assistance to authorities, then for purposes of this policy statement
       the amended guideline range shall be determined without regard to the
       operation of § 5G1.1 (Sentencing on a Single Count of Conviction) and §
       5G1.2 (Sentencing on Multiple Counts of Conviction).



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       (d) Covered Amendments.--Amendments covered by this policy statement are
       listed in Appendix C as follows: 126, 130, 156, 176, 269, 329, 341, 371, 379,
       380, 433, 454, 461, 484, 488, 490, 499, 505, 506, 516, 591, 599, 606, 657,
       702, 706 as amended by 711, 715, 750 (parts A and C only), and 782 (subject
       to subsection (e)(1)).

U.S.S.G. § 1B1.10.

       Therefore, because the Court sentenced Demling below the mandatory minimum term

of twenty years, he is eligible for a reduction. Under Amendment 782, Demling’s admitted

drug quantity (1,134-2,268 kilograms of marijuana) now results in a base offense level of 30

instead of 32. With the three level reduction for acceptance of responsibility, his amended

total offense level is 27, resulting in an amended non-binding guideline range of 100 to 125

months. U.S.S.G., Chapter Five, Part A.

       Under the second step of the analysis, the Court considers whether a reduction is

warranted based on the § 3553 sentencing factors. These factors include the seriousness of

the criminal conduct, the defendant’s history and characteristics, the defendant’s acceptance

of responsibility and cooperation, specific and general deterrence, and the need to protect the

public from potential, future crimes of the defendant. 18 U.S.C. § 3553(a)(2). Here, the

Court concludes that, even though Demling is eligible for a reduction under the first step of

the analysis, a reduction would not be appropriate based upon the Court’s reconsideration of

the § 3553 factors.

       Reducing Demling’s sentence further would seriously undermine the seriousness of

his offense. While Demling is correct that his crime was non-violent, the scope of his

involvement in this drug trafficking conspiracy was significant. Demling paid Day and his

associates substantial sums for large quantities of marijuana that he received on a regular

basis over a lengthy period.     He then distributed those large quantities of this illegal

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substance to numerous individuals.     Further, this was not Demling’s first federal drug

conviction.   According to his plea agreement, the United States District Court for the

Western District of Kentucky sentenced Demling for a similar drug trafficking offense in

1998. [Record No. 624, p. 2] Based on Demling’s disregard for the law over a prolonged

period of time, the Court is concerned that Demling will reoffend if his sentence is reduced,

thus further endangering the public. While Demling has, at times,2 taken responsibility for

his actions, he has already received a downward departure of forty months from the

mandatory minimum in recognition of his cooperation with the government. An even greater

sentence reduction would reduce the deterrent effect of his punishment both for him and for

others who might be inclined to commit a similar offense.

       Demling contends that the Court should also consider his advanced age (68 years old)

and his post-sentencing conduct as reasons for reducing his sentence. [Record No. 1004]

According to Demling, he completed the residential portion of RDAP, the high intensity drug

treatment program offered by the Bureau of Prisons. Id. at 4. He argues that an earlier

release date would allow him to complete the residential portion of the program sooner. Id.

at 4-5. He also lists a variety of vocational courses he has completed while incarcerated. Id.

at 5. And while the Court is not required to consider Demling’s post-sentencing conduct, it

has done so here. See United States v. Greenwood, 521 F. App’x 544, 547 (6th Cir. 2013)

(“The court may, but is not required to, consider a defendant’s post-sentencing conduct.”).

However, the risks associated with reducing Demling’s sentence, as explained in the Court’s

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        On August 11, 2006, Demling moved the Court to vacate, set aside or correct his
sentence pursuant to 28 U.S.C. § 2255. [Record No. 778] That motion was ultimately denied on
January 2, 2008. [Record No. 886] Demling sought to appeal the Court’s decision to the United
States Court of Appeals for the Sixth Circuit but was unsuccessful in obtaining any collateral
relief. [Record Nos. 887, 897 and 912]

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analysis of the § 3553 factors, overshadow Demling’s positive post-sentencing conduct and

advanced age. Accordingly, it is hereby

      ORDERED that Defendant Robert Demling’s motion [Record No. 1004] to reduce

his sentence is DENIED.

      This 6th day of April, 2016.




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